Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 1 of 6 PageID 350
         Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 2 of 6 PageID 351
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:      ORLANDO IIURTADO                                                            Judgnicnt - Page 2 of 5
Case No.:       8:04-cr-SJS-T-3OEAJ




        After consitlering the advisory sentencing guidelines a n d all of t h e factors itlentificd in Title 18 U.S.C.
$9 3553(a)(l)-(7),the court fil~ldsthat the sentence inlposcd is sufficient, but not greater than necessary. to comply with
the statutory purposes of sentencing.


         The defendant is hereby colnmitted to the custody of the United States Uureau of Prisons to he
imprisoned for a total term of SEVENTY (70) h1OhTHS as to Counts One and Two of the Indictment: all such terms to
r u n concurrently.



-
X The court makes the following recomniendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman.
if possible.



-
X The defendant is remanded to thc custody of the United Stares hlarshal.
- The defendant shall surrender to thc United States Marshal for this district.

          -at     - a.m.1p.m. or1 -.
          -as notified by the United States Marshal.
- The deferldant shall surrender for service ol'selirerlce at the institution designated by the Bureau ol' Prisons.
          -before 2 p.m. on -.
          -as notilied by thc United St;l~esMarshal.
                as notified by the Probation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                     to                                 at

                                                                            , with a certified copy of this judgmcn~.


                                                                                           United Starcs bl:lrsh:~l

                                                                        By:

                                                                        Deputy Marshal
        Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 3 of 6 PageID 352
A 0 245B (Rev. 12/03) Sheel 3 - Supervised Release

Defendant:         ORLANDO HURTADO                                                                     Judg~nent- Page 3 of
Case No.:          Y:OJ-cr-545-T-30EAJ
                                                         SUPERVISED RELEASE

            U p o n relcasc f m n ilnprisonnicnt, t h e defendant shall b e o n supervised rclcasc f o r a t e r m of E'IVE (5)YEARS as t o
C o u n t s O n c a n d T w o of the Indictnwnt; all s u c h t e r m s t o r u n concurrently.

        T h e defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state. o r local crime.
T h e defendant shall not illegally possess a controlled substance. T h e defendant shall refrain from any unlawful use of a controlled
substance. T h e defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          T h e defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD COXDITIONS OF SUPERVISION
          the dcfcndant shall not Icavc the judicial district without the permission of the coun or probation ollicer:

          the defendant shall report to the probation officer and shall submit a truthful and conlplete written report within the first fi\e days of each
          month:

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation ot'ljeer;

          the defendant sli;dl support his or her dependents and meet othrr family responsibilities;

          the defendant shall work regularly at a la\+fdoccupation. unitvs escused by the probation ofliccr Ibr schooling, training, or other
          acceptable reasons:

          lhe defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

          the defendant shall refrain from escessi\e use of alcohol and shall not purchase. possess, use. distribute. or administer any eonuolled
          substance or any paraphernalia related to any controlled substancss. except as prescribed by ;I physician;

          the defendant shall not frequent places where controlled substances are illegally sold. used. distributed, or administered:

          the defendant shall not associate with any persons engaged in criminal activih and shall not associate with any person convicrcd of a
          felony. unlcss granted permission to do so by the probation officer;

          the defendant shall permit a probation ot3cer to visit him or her at any time at home or clscwherc and shall permit contiscation of any
          contraband observed in plain view of the probation officer:

          the defendant shall notify the probation ollicrr within sc\enty-nvo hours of being arrestcd or questioned by a la\<enforce men^ officer:

          the defendant shall not entcr into any agrerment to act as an iniormzr or a special agent ol'a la\\. enforcement agency nithout ~ h r
          permission of the court:

          as directed by the probation officer. the defendant shall notif? third parties of risks that may bc occi~sio~ictl
                                                                                                                        by thc c1ctndan~'scriminal record
          or personal history or char;~cteristicsand shall pcnnir the probation officer to make such notitic;~~ions        and to confirm the dcfcndant's
          compliance \r ith such nolification requirement.
      Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 4 of 6 PageID 353
A 0 3458 (Rev. 12/03) Sheet 3C - Supenked Release

Defendant:          ORLANDOHURTADO                                                   Juilgnlent - Page Jof 6
Case No.:           8:0j-cr-545-T-30EAJ
                                           SPECIAL CON1)I'I'IONS OF SWERVISION

          The defendant shall also conlply with the following additional conditions of supervised releasc:


-
X         If rhe defendant be deported, helshe shall not be allowed to reenter the United States without the express permission of Ihe
          appropriate governmental authority.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary. h e Court authorizes random drug resting not to exceed 1 0 1 tests
          per year.
        Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 5 of 6 PageID 354
 A 0 Z45B (Re\. 12/03) Sheet 5 - Criminal h f o n s t q Penalties

 Defendant:          ORLANDO HURTADO                                               Judgment - Page 5 of 6
 Case No.:           8:01-cr-545-T-30EAJ

                                           CRIMINAL hlONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schcdule of payments on Sheet 6.
                             Assessment                         -
                                                                Fine                        Total Restitution

          Totals:            $200.00                             Waived                     N/A


 -        The deternlination of restitution is deferred until -,          An Amemied Jrldgmenr in n Cri~ni~~al
                                                                                                            Case ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (includin,o community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approxitnately proportioned payment. unless
          specified otherwise in the priority order or ercentage payment column below. However. pursuant to 18 U.S.C. 5
          3664(i), all nonfederal victims must be pailbefore h e United States.
                                                                                                              Priority Order or
                                                *Total                       Amount of                        Percentage of
 Name of Pavee                                Amount of Loss              Restitution Ordered                 Pavment




                             Totals:          -
                                              S                           2

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the jud,amcnt, pursuant to 18 U.S.C. (i 3612(f). All of the payment options on Sheet
          6 may be subject to penal~iesfor delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
 -        The court determined that rhe defendant does not have the ability to pay interest and it is ordered that:

         -          the intcrest requirement is waived for the - fine     - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
      Case 8:04-cr-00545-JSM-E_J Document 216 Filed 06/02/05 Page 6 of 6 PageID 355
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Paymerits
Defendant:        ORLANDO HURTADO                                                   Judgment - Page G of 6
Case No.:         8:04-cr-51-T-30EAJ


                                                  SCHEDULE OF P A ~ ~ r n N T S



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                  Lump sun1 payment of S 200.00 due immediately. balance due
                            -not later than                     , Or

                            - in accordance - C, - D. - E or - F below: or
                  Payment to begin immediately (may be combined with -C. -D, or -F below): or
                  Payment in equal                 (e.g.. weekly. monthly, quarterly) installments of S             over a
                  period of          (e.g., months or years), to commence              days (e.2.. 30 or 60 days) after the
                  date of chis judgment: or
                  Paynlent in equal               (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                                 (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from in~prisonn~entto a term of supervision: or
                  Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetaly penalties:




Unless the court has expressly ordered otherwise. if this judgment inlposes a period of im                          payment of criminal
moneta penalties is due during in1 risonment. All criminal monetary penalties, except                                 made through the
        %                               F
Federal ureau of Prisons' Imnate inancial Responsibility Program. are made to the
The defendant shall receive credit for all payments previously made toward any criniinal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property,
                                                                                                     X
or portions thereof, subject to forfeiture, which are in the possession or control of e defendant or the defendant's
nominees.



Paymenrs shall be applied in the following order: ( I ) assessmenr, (1) restitution pr~ncip:d,( 3 ) rcsritution interest, (1)fine principal,
(5) community restitution. ( 6 ) fine interest (7) penalries, and (8) cosrs, including cost of prosecution and court costs.
